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               Exhibit 4
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from:     Amazon.com <copyright@amazon.com>

reply-to: copyright+A35LZUJ6IH5MVA@amazon.com

to:

date:     Tue, May 22, 2018 at 12:39 AM

subject: Your Amazon.com KDP Book

Hello,

We received a notice regarding the content of Crave To Conquer by Ellis, Zoey; ASIN: B0785GFVZ4. In
situations such as these, we believe it reasonable for the parties involved to resolve the matter between
themselves. We trust you will be able to reach a resolution directly with them.

Claimant's email address:

abcdamazon36@gmail.com

Regards,

Kevin B

Copyright/Trademark Agent
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from:   iBooks Store Notices <ibooks.store.notices@apple.com>

to:
cc:      accounting@blushingbooks.com
date:    Thu, May 17, 2018 at 10:00 PM
subject: Apple Re: IBK95560

Dear Sir or Madam,

**Please include IBK95560 in the subject line of any future correspondence on this matter.**

On 4/19/2018, we received a notice from ABCD Graphics and Design DBA Blushing Books ("Complainant")
that Complainant believes the titles listed below infringes its intellectual property rights (see their comments
below). Please contact the complainant directly regarding this issue. Additionally, please update us on the
status of your communications by cc'ing ibooks.store.notices@apple.com.


Author: Zoey Ellis
Publisher: Quill Ink Books Limited
Book Title: Crave To Conquer
Apple ID: 1321129224
Territories of Assertion: AR, AT, AU, BE, BG, BO, BR, CA, CH, CL, CO, CR, CY, CZ, DE, DK, DO, EC, EE,
ES, FI, FR, GB, GR, GT, HN, HU, IE, IT, JP, LT, LU, LV, MT, MX, NI, NL, NO, NZ, PA, PE, PL, PT, PY,
RO, SE, SI, SK, SV, US, VE
Territories Available: GR, NZ, AR, AT, SE, CA, DK, AU, GT, DO, MT, IT, FI, LU, SV, CH, EE, DE, RO, HN,
BO, GB, CY, BE, VE, US, NL, PT, CO, CL, EC, PE, CR, BG, JP, FR, HU, MX, SI, NI, LT, SK, NO, PY, ES,
PA, BR, LV, CZ, IE, PL
Dispute Comment: This book is plagiarized and a copy of a book written by Addison Cain titled Born to be
Bound that is under copyright as well as was published by Blushing Books Publications in Jan of 2016 .
I have a list of sentences and well as plot lines, story act, etc that are taken from Mrs. Cain's book. The only
significant change we see is the POV has been changed from Female to Male. There are also numerous
reviews stating the similarities. I will send the remaining upon request.
-

Author: Zoey Ellis
Publisher: Quill Ink Books Limited
Book Title: Crave To Capture
Apple ID: 1332200350
Territories of Assertion: AR, AT, AU, BE, BG, BO, BR, CA, CH, CL, CO, CR, CY, CZ, DE, DK, DO, EC, EE,
ES, FI, FR, GB, GR, GT, HN, HU, IE, IT, JP, LT, LU, LV, MT, MX, NI, NL, NO, NZ, PA, PE, PL, PT, PY,
RO, SE, SI, SK, SV, US, VE
Territories Available: JP, AU, BR, FR, DK, US, GR, GT, CO, MT, SI, HU, DE, DO, LV, PY, PL, EC, NL, CL,
AR, ES, CA, NI, BG, VE, BE, NO, PT, CZ, IE, LU, SE, AT, PA, NZ, RO, BO, EE, CY, SK, LT, CR, CH, PE,
HN, GB, MX, SV, FI, IT
Dispute Comment: This book is plagiarized and a copy of a book written by Addison Cain titled Born to be
Broken that is under copyright as well as was published by Blushing Books Publications in April of 2016 .
I have a list of sentences and well as plot lines, story act, etc that are taken from Mrs. Cain's book. The only
significant change we see is the POV has been changed from Female to Male.There are also numerous
reviews stating the similarities. I will send the remaining upon request.
-

Sincerely,

Barry

iBooks Store Notices

 iTunes Legal | Apple | One Apple Park Way Cupertino, CA 95014 | The information in this e-mail and
any attachment(s) is intended solely for the personal and confidential use of the designated recipients. This
message may be an attorney-client communication protected by privilege. If you are not the intended recipient,
you may not review, use, copy, forward, or otherwise disseminate this message. Please notify us of the
transmission error by reply e-mail and delete all copies of the message and any attachment(s) from your
systems. The use of the sender's name in this message is not intended as an electronic signature under
any applicable law. Thank you.
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From: Draft2Digital Support <support@draft2digital.com>
Date: Fri, May 18, 2018 at 7:51 PM
Subject: Re: [#114566] Books not found
To:


We received this email from B&N yesterday afternoon at 3:22 PM. It was a new DMCA for the other
two books in the series.




Hi Tara,



We’ve taken 2940155055983 and 2940155428169 off sale due to the below DMCA notice. I sent
along the notice for the third book in the series earlier this week.



Title: Crave To Conquer

ebook

https://www.barnesandnoble.com/w/crave-to-conquer-zoey-
ellis/1127582877?ean=2940155055983



Title: Crave To Capture (Myth of Omega, #2)

https://www.barnesandnoble.com/w/crave-to-capture-zoey-
ellis/1127784484?ean=2940155428169




**************




From: Blushing Books Accounting <accounting@blushingbooks.com>
Sent: Thursday, April 19, 2018 3:24 PM
To: B&N.com DMCA Notices
Subject: DMCA take down notice
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We are sending this email as an official DMCA for the following books:



Crave to Conquer –BN 2940155055983 - Myth of Omega – Book 1 author – Zoey Ellis Published
January 18, 2018

Crave to Capture – BN 2940155428169 - Myth of Omega – Book 2 author – Zoey Ellis Published
March 20, 2018.



It has been brought to our attention that the books in question (listed above) are in violation of two books
that we have published and are under copyright. Those books are:



Born To Be Bound - Alphas Claim Book 1 – author Addison Cain and

Born To Be Broken – BN 2940158532610 Alphas Claim Book 2 – author Addison Cain.



Born to be Bound was submitted to us on January 19th, 2016 and was published on April 8, 2016.

Born to be Broken was submitted to us on April 11, 2016 and published on June 3, 2016. We have
documentation of the formal submissions and contracts with this author for these books.



As you can see by these dates Addison Cain’s books were published almost two years
BEFORE Zoey Ellis books. We would like Zoe Ellis’s two books taken down immediately!



I am including a list of all of the similarities in plot, and actions that take place between the hero and the
heroine. There are certain scenes in the book that are almost identical to Addison’s book. The only thing
different is the POV has changed from female to male. She has taken Addison’s sentences and
paraphrased them and written a book of her ‘own.’ I am including some of these sections as well. I am
also including reviews, which state that the books by Zoey Ellis are very similar to Addison Cain’s books
and feel like a ‘knock off.’



Our author – Addison is also being harassed in private messages and has been asked by another author,
on behalf of Zoe Ellis to make a public statement stating that Zoe’s books were not a knock off of her
own.



SENTENCES/LINE COMPARISON (There are more but I am only including a few.)



BtBB - The villain who had the audacity to call himself 'The Shepherd' was massive, the largest Alpha she
had ever seen.
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CtC - He was the largest Alpha known in the Eastern Lands, and while it was a petty reaction for him to
have, he found it bothered something innate within him.



BtBB - Sucking in a ragged breath, swaying as if her legs could not decide which way to run, Claire
whispered under her breath, "No... no, no, this can't be happening."



CtC - "No," Cailyn whispered, taking a step back. "No. It can't..."



BtBB - That urge—the one she had fought her whole life—was making her tremble and prepare to flee,
but there was already a commotion all around.



CtC - Cailyn glanced around wildly as she backed away, her whole body tensed and poised to bolt.



BtBB - In an instant, an arm as thick as a tree trunk came around her middle, and she was carted off,
hanging doubled over, by the swaggering pace of a man staking claim... of the victor of the battle.



CtC - Something snapped in Drocco. He swept forward and lifted Cailyn, throwing her over his shoulder
before storming out of the Great Hall.



BtBB - Lowered to the floor, her body convulsed in another cramp, drawing out the female's pained groan.
She wanted—no, needed—to press her hands between her legs.



CtC - She bent over, pressing her hands between her legs, and groaned.



BtBB - Omegas had become exceptionally rare since the plagues and the following Reformation Wars a
century prior. That made them a valuable commodity which Alphas in power took as if it was their due.



CtC - "The Omegas were dying," she said, bitterly. ... "The Omegas were dying at unnatural rates before
their disappearance." [page 43] "There was a serious decline in Omegas from first count to the last. There
were too many deaths for it to be a natural occurance."
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PLOT SIMILARITIES



BTBB: Protagonist is leader of a violent army that has taken over a city. His men follow without
question.
CtC: Protagonist is leader of a violent army that has taken over a city. His men follow without
question.

BTBB: Omegas are dying off from attacks by Alphas. They go into hiding to survive.
CtC: Omegas are dying off from attacks by Alphas. They go into hiding to survive.

BTBB: Main protagonist is searching for the missing Omegas to give them to his soldiers.
CtC: Main protagonist is searching for the missing Omegas to give them to his soldiers.

BTBB: Protagonist has Beta confidant as second in command. It is the only Beta in the army.
CtC: Protagonist has Beta confidant as second in command. It is the only Beta in the army.

BTBB: Claire (an Omega) approaches protagonist disguised as a Beta in order to help the Omegas.
CtC: Cailyn (an Omega) approaches protagonist disguised as a Beta in order to help the Omegas.

BTBB: Claire suppresses her scent and estrous by use of drugs so that she can pass for a Beta.
CtC: Cailyn suppresses her scent and haze by use of magic so that she can pass for a Beta.

BTBB: Claire’s drugs fail in a room full of Alpha males. All Alphas who smell her enter a rut. A fight
breaks out. Protagonist fights off potential suitors and steals her away.
CtC: Cailyn’s magic fails in a room full of Alpha males. All Alphas who smell her enter a rut. A fight
breaks out. Protagonist fights off potential suitors and steals her away.

BTBB: Alpha undresses before Omega. "You are fighting your cycle."
CtC: Alpha undresses before Omega. “You fight your instincts.”

BTBB: Omega fights instincts to refuse Alpha’s advances. Fails.
CtC: Omega fights instincts to refuse Alpha’s advances. Fails.

BTBB: Omega is mindless in her estrous. Has no free will to reject Alpha.
CtC: Omega is mindless in her haze. Has no free will to reject Alpha.

BTBB: Shepherd takes advantage of the situation to make the Omega his mate.
CtC: Drocco takes advantage of the situation to make the Omega his mate.

BTBB: Claire enters a depression one her estrous has ended. She does not want to be mated to
Shepherd. Protagonist does not understand why she refuses to behave as an Omega and adore him.
He forces her to comply with her nature despite her personal feelings.
CtC: Cailyn enters a depression one her estrous has ended. She does not want to be mated to
Drocco. Protagonist does not understand why she refuses to behave as an Omega and adore him.
He forces her to comply with her nature despite her personal feelings.

BTBB: Shepherd does not understand why Claire does not act like an obedient Omega.
CtC: Drocco does not understand why Cailyn does not act like an obedient Omega.

BTBB: Protagonist locks Omega away in his room so that she cannot escape.
CtCa: Protagonist locks Omega away in his room so that she cannot escape.

BTBB: Protagonist is obsessed with his Omega. Demands she obey despite her vocal rejection of the
match.
CtC: Protagonist is obsessed with his Omega. Demands she obey despite her vocal rejection of the
match.
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BTBB: Alpha is given unwanted advice from Beta second in command.
CtC: Alpha is given unwanted advice from Beta second in command.

BTBB: Protagonist uses information unwillingly gathered from his Omega to hunt missing Omegas.
CtC: Protagonist uses information unwillingly gathered from his Omega to hunt missing Omegas.

BTBB: Instead of asking Claire why she is unhappy, Protagonist seeks to manipulate her feelings
using outside help.
CtC: Instead of asking Cailyn why she is unhappy, Protagonist seeks to manipulate her feelings using
outside help.

BTBB: The Omega falls into a deeper depression and desires to die. Worries constantly about
missing Omegas.

CtC: The Omega falls into a deeper depression and desires to die. Worries constantly about missing
Omegas.



BTBB: Omega goes on hunger strike.

CtC: Omega stops eating.



BTBB: Protagonist is unwilling to change world view, even if it would make the Omega happy.

CtC: Protagonist is unwilling to change world view, even if it would make the Omega happy.



BTBB: Once contacted, the other hidden Omegas betray Claire.

CtC: Once contacted, the other hidden Omegas betray Cailyn.



BTBB: Omega begins to develop Stockholm syndrome, questions her reactions and is confused.

CtC: Omega begins to develop Stockholm syndrome, questions her reactions and is confused.



BTBB: Protagonist tries to make Claire jealous. This in turn breaks her spirit.

CtC: Protagonist tries to make Cailyn jealous. This in turn breaks her spirit.



BTBB: Claire escapes at first opportunity, jumping off a balcony, escapes into city leaving book on
cliffhanger.

CtC: Cailyn escapes at first opportunity, floating off a balcony, escapes into city leaving book on
cliffhanger.
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REVIEWS FROM AMAZON THAT MENTION SIMILARITIES



By              on February 15, 2018

Format: Kindle EditionVerified Purchase

It reminds me of Addison Cain's series about Alphas and Omegas.



By                    on February 11, 2018

Format: Kindle EditionVerified Purchase

Loved this new series but very close to Addison Cain’s Alpha story line - could be a coincidence



By          on April 3, 2018

Format: Kindle EditionVerified Purchase

This book is VERY much like Addison Caine’s book. I would consider it well written if I hadn’t already
read Addison’s book “Alpha’s Claim”. Hopefully Zoey Ellis simply admires Addison’s work and the
story has just accidentally carried over into Zoey’s story.



By          on April 10, 2018

Format: Kindle EditionVerified Purchase

It’s ok, cheap writing version of Addison Cain’s Alphs series, will buy book 2



By                March 24, 2018

Format: Kindle EditionVerified Purchase

Don't get me wrong - I enjoyed this book, but in some aspects it's a little too close to Addison Cain's
book. To some degree, building on an alpha-omega world with only minor reinvention is OK - you see
that a lot in PNR worlds. But the character conflicts are really similar - an alpha who wants to take
over the world (although the underlying motivation differs), an omega who wants to save her fellow
omegas from badly behaved alphas, and a bond that ties them together, much to the heroine's
dismay. The setting was different, and well drawn out - somewhat like GoT. If you enjoyed AC's
series, you will enjoy this.



By         March 26, 2018

Format: Kindle EditionVerified Purchase

This story was good but Addison Cain wrote it better in Born to be Bound. This is almost the exact
same story only the names are different.
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Even has the same ending with heroine escaping at end of the book. You should be ashamed of
yourself Zoe Ellis...i want my money back!



By                 on February 18, 2018

Format: Kindle EditionVerified Purchase

I want to believe that this author didn't intentionally bite off Addison Cairns Omega verse stories, but
the similarities are uncanny. I am still debating on whether to purchase the next book in the series.



                days agoIn reply to an earlier post

Addison Cain's book felt new - this series feels like it is inhabiting her world. Not sure if that is a good
or bad thing - authors helping other authors build out space is what happens in sci-fi and PNR. It felt
to me like she was robbing Addison Cain so she got her world building for free. So therefore,
unoriginal.



By              on March 24, 2018

Format: Kindle EditionVerified Purchase

I read this back to back with the first book. This was fairly slow moving compared to the first read. It
got bogged down in Cailynn's self-righteous angst a few too many times. Having said that, the author
did a great job evolving Drocco's character to one with more empathy. Cailynn needed to give in and
trust the bond a little sooner and her depression was a slog to read through. The pacing did pick up in
the last 3rd of the book. It also remained strongly reminiscent of Alpha's Control




Allison

Office

and Production

Manager

Blushing Books Publication
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